             Case 3:07-cv-05944-JST Document 4027 Filed 08/28/15 Page 1 of 1



 1

 2                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
 3                                 SAN FRANCISCO DIVISION
 4
     IN RE: CATHODE RAY TUBE (CRT)
 5   ANTITRUST LITIGATION
 6
     This Document Relates to:                         Master File No. 3:07-cv-05944-SC
 7
     ViewSonic Corp. v. Chunghwa Picture Tubes,        MDL No. 1917
 8
     Ltd., et al., Case No. 3:14-cv-02510-SC
 9
                                                       [PROPOSED] ORDER
10

11

12          The Court, having considered the stipulation of the parties, and good cause appearing
13   therefore, orders as follows:
14          1.      All of the claims asserted by Plaintiff ViewSonic Corporation (“ViewSonic”)
15   against Defendant LG Electronics, Inc. (“LG Electronics”) are dismissed with prejudice pursuant
16   to Rule 41(a)(2) of the Federal Rules of Civil Procedure.
17          2.      Each party shall bear its own costs and attorneys’ fees.
18
            IT IS SO ORDERED.                                               ISTRIC
19
                                                                       TES D      TC
20
                                                                     TA
                                                                                                  O
                                                                 S




                                                                                                   U
                                                               ED




     Dated: 08/28/2015
                                                                                                    RT




21
                                                           UNIT




                                                          Hon. Samuel Conti
22
                                                                                                        R NIA




                                                          United States District Court Judge
23                                                                                         onti
                                                           NO




                                                                                    amuel C
                                                                             Judge S
                                                                                                       FO




24
                                                            RT




                                                                                                   LI




25                                                                  ER
                                                                 H




                                                                                                   A




                                                                         N                         C
26                                                                           D IS T IC T      OF
                                                                                   R
27
28
